 

Case 1:23-cr-00074-RCL Document5 Filed 03/16/23 Page 1 of 1

AO 442 (Rev. 11/1) Arrest Warrant

UNITED STATES DISTRICT COURT

for the
District of Columbia
United States of America

v. }
Case No.
Gregory Bournes Jr. wee

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Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) Gregory  Bournes Jr. :
who is accused of an offense or violation based on the following document filed with the court:

& Indictment O Superseding Indictment © Information © Superseding Information © Complaint
© Probation Violation Petition ‘| Supervised Release Violation Petition M9 Violation Notice O Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 371 - Conspiracy to Commit an Offense Against the United States.

* Digitally signed by

G. Michael G. Michael Harvey
Date: 2023.03.09

Harvey or i6a601 oso

issuing officer's signature

Date: 03/09/2023

City and state: Washington, D.C. G. Michael Harvey, U.S. Magistrate Judge

Printed name and litle

 

Return

 

This warrant was received on (date) S / { af a3 , and the person was arrested on (date) af, 14 /: 2
At (city and state) Neu bore } C A :

Date: >] tf 2% SAGL—

Arresting officer's signature

SA Mma ATF

Printed name and title

 

 
